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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION


    AVA FIELDS and WILBUR FIELDS,

                  Plaintiffs,
                                                      Case No. 3:17-cv-1069-J-34MCR
    vs.

    USAA GENERAL INDEMNITY COMPANY,

                  Defendant.
                                              /


                                  ORDER OF DISMISSAL

           THIS CAUSE is before the Court on the Joint Stipulation for Dismissal (Dkt. No. 23;

    Stipulation) filed on July 11, 2018. In the Stipulation, the parties request dismissal of this

    matter with prejudice. See Stipulation at 1. Accordingly, it is hereby

           ORDERED:

           1.     This case is DISMISSED with prejudice.

           2.     Each party shall bear their own attorney’s fees and costs.

           3.     The Clerk of the Court is directed to terminate all pending motions and close

                  the file.

           DONE AND ORDERED in Jacksonville, Florida this 12th day of July, 2018.
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    ja


    Copies to:

    Counsel of Record




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